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        EXHIBIT A
    FILED UNDER SEAL
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                 EXHIBIT 2
   FILED UNDER SEAL
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                                                               Page 1
                    UNITED STATES DISTRICT COURT

                   NORTHERN DISTRICT OF CALIFORNIA

                         SAN FRANCISCO DIVISION



     WAYMO LLC,

               Plaintiff,

     vs.                                   No. 3:17-cv-00939-WHA

     UBER TECHNOLOGIES, INC.;

     OTTOMOTTO LLC; OTTO TRUCKING,

     INC.,

               Defendants.

     _____________________________/



           WAYMO & UBER CONFIDENTIAL ATTORNEYS' EYES ONLY



               VIDEOTAPED DEPOSITION OF GREGORY KINTZ

                        SAN FRANCISCO, CALIFORNIA

                        WEDNESDAY, APRIL 26, 2017




     BY:   ANDREA M. IGNACIO, CSR, RPR, CRR, CCRR, CLR ~

     CSR LICENSE NO. 9830

     JOB NO. 2592507



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                                                                Page 50
1             And in that Excel file, I computed the X/Y             12:08

2    separations using the Pythagorean theorem, as                   12:08

3    previously discussed.                                           12:09

4        Q    Okay.    And the use of the Pythagorean theorem        12:09

5    to calculate separation, is that what you're calling            12:09

6    vertical separation in paragraph 33?                            12:09

7        A    The separation is the separation between the           12:09

8    individual components.    The terminology of vertical,          12:09

9    yes, that is the separation between the                         12:09

10   two components.                                                 12:09

11       Q    Okay.    And I -- I just want to clarify.              12:09

12            So, earlier we were looking at the X/Y                 12:09

13   coordinates for the GBr3.                                       12:09

14            Do you recall that?                                    12:09

15       A    Yes.                                                   12:09

16       Q    By vertical separation, you're not talking             12:09

17   about just the delta or the difference between the Y            12:09

18   coordinates between two diodes then; is that correct?           12:09

19       A    No.    I was computing the -- both components.         12:09

20       Q    Using both the X and Y coordinates?                    12:09

21       A    Yes.                                                   12:10

22       Q    And then there is this number

                                                                     12:10

24            Do you see that in paragraph 33?                       12:10

25       A    Yes.                                                   12:10
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                                                                  Page 54
1                But let me ask you my next question, which          12:13

2    is:       You also looked at the difference in angular          12:13

3    orientation as well?                                            12:13

4          A     Correct.                                            12:13

5          Q     And that was part of your determination as to       12:13

6    whether or not there was

                       ; correct?                                    12:13

8                MR. JAFFE:   Objection; form.                       12:13

9                THE WITNESS:    There is -- as demonstrated by      12:13

10   the information in the pick-and-place file, that there          12:13

11

                                                                     12:14

13               MR. KIM:   Q.   So you could look at the            12:14

14

                                                                     12:14

16         A     The angle information by itself would not           12:14

17   yield enough data to actually produce that                      12:14

18   information.                                                    12:14

19         Q     Why not?                                            12:14

20         A     Because angle only tells you position along a       12:14

21   line or a vector, and not -- doesn't give you the               12:14

22   secondary intersection point that defines a point.              12:14

23         Q     And so you would need to look at both the           12:14

24   difference in angular orientation, as well as the               12:14

25   difference in the X and Y coordinates; correct?                 12:14
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                                                                 Page 83
1          A   That is correct.                                      13:42

2          Q   Okay.    And in order to calculate the vertical       13:42

3    spacing between A0 and A1, how would you calculate              13:42

4    that using the X/Y coordinates there?                           13:42

5          A   The vertical spacing is related to its                13:42

6    position on the great circle relative to the lens.              13:42

7    And so I would take the difference in the X/Y                   13:42

8    components and compute their separation, the                    13:42

9    Pythagorean theorem.                                            13:42

10         Q   Is that something you could do now between A0         13:42

11   and A1?                                                         13:42

12         A   Yes.                                                  13:42

13         Q   Okay.    What -- what is the vertical                 13:42

14   separation between those two?                                   13:42

15         A   Do you have a calculator?                             13:42

16         Q   We do.                                                13:42

17         A   Do you have a sheet of paper that I can write         13:42

18   on?                                                             13:42

19         Q   Yes.                                                  13:42

20         A   Do you have a pen that I can write with?              13:43

21         Q   Sure.                                                 13:43

22         A   (Witness complies.)                                   13:43

23             I come up with                      with              13:46

24   rounding to the third significant digit.                        13:46

25         Q   And what does that number represent?                  13:46
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                                                                 Page 89
1             THE WITNESS:    No.   With the data that you've        13:55

2    given me right here at this time, with the equipment            13:56

3    that's available to me, I cannot make a determination.          13:56

4             MR. KIM:   Q.   And what would you need to make        13:56

5    that determination?                                             13:56

6        A    I would need to have information that gave me          13:56

7    the locations of the features on this board.      This is       13:56

8    a fabrication document that lays out the layers of the          13:56

9    board and the relative positions of the bond pads on            13:57

10   the surface of the board, but does not really disclose          13:57

11   any information on the actual positions of the                  13:57

12   components.                                                     13:57

13       Q    And the same would be true for Exhibit 1043            13:57

14   that you were just looking at before that?                      13:57

15       A    No.   1043 actually has component information          13:57

16   on it.                                                          13:57

17       Q    Okay.   And what would you need to determine           13:57

18   whether or not the

              for the board depicted in Exhibit 1043?                13:57

20       A    Ideally, I would need a way of expanding the           13:57

21   image and creating center line information between the          13:58

22   placed components in their ideal location and the               13:58

23   adjacent one, and from that information, computing the          13:58

24   data.                                                           13:58

25            I frequently do that type of analysis in               13:58
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                                                               Page 90
1    graphics programs.     I in particular use a program            13:58

2    called CorelDRAW that allows me to do this type of              13:58

3    detailed point-by-point analysis.                               13:58

4        Q    And that would be for the purpose of                   13:58

5    determining the X/Y coordinates and the theta?                  13:58

6        A    That's correct.                                        13:58

7        Q    And you didn't do that for the board depicted          13:58

8    in Exhibit 1043; correct?                                       13:58

9        A    That's correct.                                        13:58

10       Q    Okay.                                                  13:58

11            (Document marked Exhibit 1045                          13:58

12             for identification.)                                  13:59

13            MR. KIM:    I have the same question for               13:59

14   Exhibit No. 1045, which bears Bates No. Uber00008610.           13:59

15       Q    Does this exhibit depict

                                                                     13:59

17       A    This document is an assembly document.     So          13:59

18   the positions -- so the actual components should be             13:59

19   shown in the printout.     And again, I would need to           13:59

20   expand the figure to make a determination of the                13:59

21   relative position.                                              13:59

22       Q    So sitting here today, you can't tell me               13:59

23   whether or not the board depicted in Exhibit 1043 has           13:59

24                         --                                        13:59

25            MR. JAFFE:    1045, I'm assuming you're asking         13:59
